Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 1 of 10




                                                                    ;; EXHIBIT
                                                                       4.2; EXHIBIT
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 2 of 10




                                                                                20,646.22
                                                 646.22
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 3 of 10
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 4 of 10
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 5 of 10
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 6 of 10




                         1,266
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 7 of 10
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 8 of 10
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14   Desc Main
                          Document     Page 9 of 10




                                    03/15/2019
Case 19-00873   Doc 17   Filed 03/15/19 Entered 03/15/19 18:18:14     Desc Main
                         Document      Page 10 of 10




                                                             20,646.22




                                                              3,946




                                                             26,552.22
                                                             26,567.22
